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 4

 5                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 6

 7    FLOYD WALLACE                         )             Case No.: 2:23-cv-00809
                                            )
 8                     Plaintiff,           )             PLAINTIFF’S UNOPPOSED MOTION
                                            )             TO EXTEND TIME TO RESPOND TO
 9    v.                                    )             MOTION OR IN THE
                                            )             ALTERNATIVE FOR LEAVE TO
10    LAS VEGAS METROPOLITAN POLICE         )             FILE LATE REPLY; MOTION TO
      DEPARTMENT, et al.                    )             EXTEND PAGE LIMIT FOR REPLY;
11                                          )
                        Defendants.         )
12    _____________________________________ )

13                                          INTRODUCTION

14          I, Plaintiff Floyd Wallace, pursuant to Fed. R. Civ. P. Rule 6, moves this Honorable

15 Court for an extension of time to reply to Defendant Las Vegas Metropolitan Police Department

16 (“LVMPD”)’s frivolous Response (“Response”) (ECF No. 28) to Plaintiff’s Motion for

17 Sanctions (“Motion”) (ECF No. 21). Or in the alternative, for leave to file a late reply, in the

18 interest of justice. This motion is made and based on the attached Memorandum of Points and

19 Authorities, the pleadings, and papers on file herein, and any oral argument allowed by counsel

20 at the time of the hearing.

21          When emailing the only currently participating defendants, LVMPD, they did not oppose

22 my moving this court to stay proceedings until I could find counsel. I have not yet found counsel.

23          While my motion for pro bono panel referral was denied, my motion for a stay was


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 1 mistakenly denied as moot, even though it requested a stay even if my motion for pro bono was

 2 denied (ECF No. 24, 4:2).

 3          I’m requesting until September 25, 2023 or longer if the court grants it, to respond to

 4 Defendants frivolous Response, so that I may respond to it with the help of counsel.

 5          Additionally, I have been delayed by being illegally jailed three times in the last 30 days.

 6          Additionally, LVMPD has improperly submitted a lot of “evidence” in their Response

 7 that will take me a while to comb through and object to, and they continue to misconstrue facts

 8 that requires me to correct just about every “fact” that they have newly alleged or “referenced”.

 9          Additionally, since I am currently traveling, I won’t even receive the thumb drive they

10 attached, assuming they mailed it to me, until after seven days.

11          Finally, LVMPD will need at least 21 days to withdraw their Response for a safe harbor

12 period, while I notify them of additional sanctions motions.

13          Since LVMPD’s Response is 11 pages long, if I’m to quote each fallacy when responding

14 to each one, to object to all the improper “evidence” and add some legal argument, my reply is

15 expected to be 22 pages long.

16                          MEMORANDUM OF POINTS AND AUTHORITIES

17          A. Rule 6 authorizes this Court to extend time. Fed. R. Civ. P. Rule 6(b)(1)(B) grants

18 this Court the authority, for good cause, to extend the time before the original time or its

19 extension expires. Courts in this circuit have allowed extensions of time while safe harbor

20 periods run down. Cortese v. H&R Block Tax & Bus. Servs., No. CV 14-7550 PSG (MRWx),

21 2015 U.S. Dist. LEXIS 200684, at *10-11 (C.D. Cal. Aug. 4, 2015); Slovak v. Golf Course Villas

22 Homeowners Aossication, No. 3:13-cv-00569-RCJ-CBC, 2019 U.S. Dist. LEXIS 238421, at *6-

23 7 (D. Nev. Jan. 15, 2019). Here, Plaintiff’s Response full of unreasonable inferences that lack


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 1 any factual basis shows good cause related to a safe harbor period for a valid Rule 11 sanctions

 2 motion. I’ve also mentioned several other good cause reasons for a delay for search of counsel,

 3 traveling, illegal incarceration, and a Response that has probably 100 misconstrued “facts” that

 4 need correcting and objected to.

 5          B. Discretion to accept late filings. The Ninth Circuit Court of Appeals considered a

 6 district court's discretion to accept late filings in U.S. v. Heller, 551 F.3d 1108 (9th Cir. 2009).

 7          C. Local rule 7-3 allows a party to request leave to exceed the 12 page limit for

 8 replies. Here, because LVMPD has misconstrued so many facts, it has forced me to provide

 9 lengthy quotations and corrections, requiring more than 12 pages to respond. LVMPD also

10 attempts to incorrectly submit a lot of documentary evidence that needs to be objected to.

11                                                CONCLUSION

12          Accordingly, Plaintiff respectfully requests this Court:

13          1. Extend the time to file a Reply to LVMPD’s Response until September 25, 2023, or

14 longer, or in the alternative leave to file a late opposition, and LVMPD does not oppose this.

15          2. Leave to file a 22 page reply to LVMPD’s Response that is filled to the brim with

16 misconstrued facts and improperly submitted “evidence” requiring correction and objection.

17

18 DATED: August 22, 2023                                  Respectfully submitted,

19
                                                           _______________________
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